                 Case 2:85-cr-00001-RAJ Document 5 Filed 10/16/20 Page 1 of 1




 1                                                                        Hon. Richard A. Jones

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 5
                            UNITED STATES DISTRICT COURT
 6
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 7
     UNITED STATES OF AMERICA,
 8
                                Plaintiff(s),           NO. CR85-0001RAJ
 9
            v.                                          ORDER DENYING
10                                                      DEFENDANT’S MOTION FOR
     RICHARD SCUTARI,                                   REVISED PRESENTENCE
11                                                      INVESTIGATION REPORT
                                Defendant(s).
12

13          THIS MATTER comes before the Court upon Defendant’s pro se Motion for

14 Revised Presentence Investigation Report. Dkt. 2. Having considered Defendant’s

15
     motion, the government’s response, and the file and pleadings herein, for the reasons
     articulated by the government in its opposition,
16
            IT IS ORDERED that Defendant’s Motion is DENIED.
17
            DATED this 16th day of October, 2020.
18

19                                                      A
20                                                      The Honorable Richard A. Jones
                                                        United States District Judge
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     ORDER DENYING DEFENDANT’S MOTION FOR REVISED PRESENTENCE
     INVESTIGATION REPORT - 1
